Dear Mr. Burkett:
You have requested an opinion of the Attorney General relative to an interpretation of R.S. 48:756 (A)(3) as it relates to the distribution of Parish Transportation Fund (Fund) monies to the Parish of Sabine (Parish). The following represents a summary of the facts relating to this request.
R.S. 48:751 through 762 comprise statutory provisions relating to the Fund. Section 756 (A)(1) sets forth a distribution formula for monies in the Fund to each parish on a per capita basis in population categories developed by the Division of Business and Economic Research at Louisiana Tech University. Once distributed, the funds are to be spent by the individual parishes in accordance with the Fund's statutory provisions.
Section 756 (A)(3) provides for the distribution of excess Fund monies based on a formula different from the one contained in Section 756 (A)(1). It provides the following:
      "(3) If funds are available for and appropriated to the Parish Transportation Fund in excess of the amount appropriated in Fiscal Year 1994-1995, such additional funds shall be distributed to the parishes on a per mile basis with the total miles of parish roads as determined by the Department of Transportation and Development for the year 1990. Each parish shall receive an amount based on that parish's total miles of road in proportion to total parish roads in the state. Funds received under the provisions of this Paragraph shall be distributed within each parish on the same basis, i.e., through a formula based on the number of miles of parish roads located in each district in the parish as reported by the Department of Transportation and Development on January first of each funding year."
Recently, the Fund realized excess revenues subject to distribution to the various parishes in accordance with Section 756 (A)(3). The Department of Transportation (DOTD) has submitted to the State Treasurer calculations which reflect 32,147.90 total miles of parish roads and 740.49 total miles of roads in the Parish. This results in the Parish receiving One Hundred Eighty-Four Thousand Two Hundred Seventy-One Dollars ($184,271) which will be distributed by the State Treasurer in twelve monthly installments. The issue presented for our consideration is the method to be used by the Parish in the distribution of these excess funds. In this connection, the Parish submits that, according to its own census, there are 964.9 miles of parish roads, or approximately 224 miles which are not reflected in DOTD's calculations. Further, DOTD has not furnished the Parish with a schedule with miles of parish roads broken down by individual district. This data is, however, available from Parish reports.
Initially, we find that the calculation used by DOTD to determine the total excess funds allocated to the Parish comports to the statutory requirement that the total Parish mileage be based on the roads in existence in 1990.
We have reviewed the data submitted with your request. Since DOTD has not supplied the Parish with the miles of parish roads within each district, it would not seem unreasonable for the Parish to distribute its allotment of excess funds through a formula based on the number of miles of parish roads as calculated by the Parish (i.e., 964.9 miles) in relation to the number of miles located in each district per Parish calculations. We find this method of distribution in keeping with the formula set forth in Section 756 (A)(3).
Once the funds are distributed by district, we are of the opinion that these funds must be expended in accordance with the statutes comprising the Fund, including those provisions relative to the system of administration found in Section 755.
I am, by copy of this letter, advising General Counsel for the Legislative Auditor of your concerns and good-faith efforts to insure that Fund monies are distributed and expended in accordance with the law.
Trusting this adequately responds to your inquiry, I am
Very truly yours,
                                  RICHARD P. IEYOUB ATTORNEY GENERAL
By: ___________________________  ROBERT E. HARROUN, III
Assistant Attorney General RPI/Rob, III/cla
cc: Roger Harris, General Counsel, Legislative Auditor